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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 GODO KAISHA IP BRIDGE 1,                          §
                                                   §
         Plaintiff,                                §
                                                   §            Case No. 2:21-CV-213-JRG
         v.                                        §                   (Lead Case)
                                                   §
 TELEFONAKTIEBOLAGET LM                            §            JURY TRIAL DEMANDED
 ERICSSON and ERICSSON INC.,                       §
                                                   §
         Defendants.                               §
                                                   §

                                 JOINT MOTION TO STAY
                        ALL DEADLINES AND NOTICE OF SETTLEMENT

        Plaintiff Godo Kaisha IP Bridge 1 and Defendants Telefonaktiebolaget LM Ericsson and

Ericsson Inc., have settled, in principle, all matters in controversy in the above-captioned action

between the parties. Accordingly, the parties jointly move the Court to stay any and all unreached

deadlines in this action for thirty (30) days in order to finalize the settlement of this matter and file

appropriate dismissal papers.
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 DATED: October 7, 2022                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 7th day of October 2022.



                                                       /s/ Melissa R. Smith




                                 CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Plaintiff and counsel for Ericsson have complied with the

meet and confer requirement regarding this Motion on October 4, 2022. The Parties are in

agreement and are seeking joint relief.


                                                    /s/ Melissa R. Smith
